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                            THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF ALASKA

MICHAEL COLE, individually and on behalf       Case No. 1:14-cv-0004-SLG
of all others similarly situated,
                                               PLAINTIFF’S REPLY IN
               Plaintiff,                      SUPPORT OF MOTION FOR
                                               CLASS CERTIFICATION AND
v.                                             APPOINTMENT OF CLASS
                                               COUNSEL
GENE BY GENE, LTD., a Texas limited
liability company,                             Hon. Sharon L. Gleason

               Defendant.




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                                    ARGUMENT IN REPLY

       Defendant Gene by Gene Ltd. concedes that the class and subclass proposed by Plaintiff

Michael Cole are sufficiently numerous and can be readily ascertained, and that Cole’s lawyers

have and will continue to be adequate representatives, but contests whether Cole meets any other

requirement for certification under Rules 23(a) and (b)(3). Some of Gene by Gene’s arguments,

particularly those relating to damages or Cole’s standing, simply rehash arguments made in

Defendant’s two pending motions. The Court’s resolution of those fully briefed motions will

control the issues to the extent they are raised here; Cole will not repeat here why Gene by Gene

is incorrect that Cole lacks standing or why Gene by Gene’s various constitutional challenges to

the statute are meritless. After setting aside these tired contentions, Gene by Gene’s opposition is

left attempting to create individualized issues where none exist. This effort fails.

       On the whole, these supposedly individualized issued are based on undeveloped statutory

theories that can be charitably described as bordering on the specious. Likewise, in most respects

Gene by Gene declines to support its theories with evidence, even going so far as to rely on the

hypothetical experiences of Jane Doe in one instance.

       Conjecture and hypothesis will not justify denying certification. What matters is

evidence. While “Rule 23 grants courts no license to engage in free-ranging merits inquiries at

the certification stage,” Amgen Inc. v. Conn. Retirement Plans & Trust Funds, 133 S. Ct. 1184,

1194-95 (2013), the proponent of class certification must establish the prerequisites for

certification by a preponderance of the evidence, Kristensen v. Credit Payment Servs., 12 F.

Supp. 3d 1292, 1302 (D. Nev. 2014). Thus, the opponent of class certification cannot rest on

their laurels when, as here, the plaintiff adduces evidence affirmatively demonstrating that the




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requisites to certification under Rule 23 have been satisfied. See, e.g., Reyes v. Netdeposit, LLC,

802 F.3d 469, 484-85 (3d Cir. 2015) (discussing proper inquiry at certification stage).

       In his opening memorandum, Cole explained that the evidence adduced in discovery

demonstrates that each issue central to Gene by Gene’s liability in this case can be resolved on

the basis of evidence common to every class member: Class members all went through a

substantially similar process when purchasing DNA tests from Gene by Gene; all went through a

substantially similar process when joining Projects (including, for both processes, viewing

materially identical disclosures about what information Gene by Gene would share with others);

all had their testing results disclosed in the same way; and all, under Cole’s theory, are entitled to

the same statutory damages. In other words, “a common nucleus of operative fact,” Irwin v.

Mascott, 96 F. Supp. 2d 968, 973 (N.D. Cal. 2007), is central to the claim of every class member

under Alaska’s Genetic Privacy Act, and a fact finder’s determinations about Gene by Gene’s

conduct will establish Gene by Gene’s liability with respect to each class member.

       Gene by Gene’s response fails to establish that Cole’s analysis is erroneous as to any

class member. Try as it might, Gene by Gene cannot point to any evidence that establishes that a

single issue central to the validity of the class’s claims will require individualized legal or factual

determinations. (Strangely, Gene by Gene declines to discuss Cole’s proposed subclass at all.)

For these reasons and as explained further below, each of Gene by Gene’s objections to class

certification falls flat. The Court should therefore certify Cole’s proposed class and subclass.

I.     Differences in the genetic testing offered by Defendant do not create individualized
       issues.

       Gene by Gene first hypothesizes, without advancing any accompanying legal or factual

support, that differences in the content of the various genetic tests it offers might create

individualized issues. (Opp. at 8.) These issues, Gene by Gene first says, would arise by virtue of



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statute authorized some disclosures and prohibited others and thus “to suggest that the meaning

of the term ‘disclose’ is so limited as to take the act of publication of protected information

outside the statute’s reach because no specific recipient is proven simply misunderstands the

textual scheme”); Pilon v. U.S. Dep’t of Justice, 73 F.3d 1111, 1124 (D.C. Cir. 1996) (“Our

review of the Privacy Act’s purposes, legislative history, and integrated structure convinced us

that Congress intended the term ‘disclose’ to apply in virtually all instances to an agency’s

unauthorized transmission of a protected record.”) (emphasis added); In re Hulu Privacy Litig.,

2014 WL 1724344, at *14 (N.D. Cal. Apr. 28, 2014) (“By analogy, if a video store knowingly

hands a list of Judge Bork’s rented videos to a Washington Post reports, it arguably violates the

[Video Privacy Protection Act] even if the reporter does not look at the list.”). Defendant

develops no argument that the transmission of class members’ testing results would not

constitute a disclosure under the Genetic Privacy Act, so its contention that individualized issues

are present has no legs.

       Of course, whether the transmission of the testing results constitutes a disclosure is a

threshold question common to the entire class. Even if Gene by Gene is ultimately correct about

the meaning of the statute, courts often find that the commonality and predominance

requirements are satisfied when a threshold question is subject to a common answer, even if

subsequent questions might require individual determinations. See Young v. Nationwide Mut. Ins.

Co., 693 F.3d 532, 545 (6th Cir. 2012) (“[W]here a threshold issue is common to all class

members, class litigation is greatly preferred.”); Villalpando v. Exel Direct Inc., 303 F.R.D. 588,

608 (N.D. Cal. 2014).

       Defendant also suggests that different privacy settings available to class members create

individualized issues concerning “disclosures” that will predominate over any common issues.




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As Defendant describes it, the client-facing interface on the FamilyTree DNA website allows

individuals to control to whom their testing results are disclosed, and it hypothesizes that some

class members may have adjusted their settings to prevent any disclosure at all. (Opp. at 9-10.)

Tellingly, Defendant points to no evidence supporting this contention; instead, it supports the

argument by creating, out of whole cloth, “Jane Doe.” (Opp. at 10.) “Defendant’s speculation ...

is not sufficient to defeat class certification.” Agne v. Papa John’s Int’l, Inc., 286 F.R.D. 559,

567 (W.D. Wash. 2012); see Johnson v. Yahoo! Inc., 2016 WL 25711, at *7 (N.D. Ill. Jan. 4,

2016) (“While it is plaintiff’s burden to meet the predominance test, an opposition based on

theory, not evidence, is not a weighty objection.”); Bee, Denning, Inc. v. Capital Alliance Grp.,

310 F.R.D. 614, 629 (S.D. Cal. 2015) (“When a party has not submitted any evidence”

supporting contention that individualized issues exist, “courts will not presume that resolving

such issues requires individualized inquiries.”); Kristensen, 12 F. Supp. 3d at 1307 (“courts

should afford greater weight to a plaintiff’s theory of class-wide proof ... when that theory is

entirely unrebutted by the precise type of evidence which could do it greatest harm”). Because

Defendant “fail[s] to show a single instance” in which a class member adjusted their privacy

settings to prevent disclosure, it has failed to rebut Cole’s showing that common issues

predominate. Meyer v. Portfolio Recovery Assocs., LLC, 707 F.3d 1036, 1042 (9th Cir. 2012).

       To start, Defendant’s contentions about the privacy settings are without an evidentiary

foundation.

                                                                        . (Ex. T., GBG00059210)

Defendant’s concerns therefore are inapplicable before that date.

       Second, the privacy settings applied only to “                                           .”

(Id.; see also Dkt. 140, Ex. R, GBG00409239 (noting that privacy settings




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                                                                         ”).) In other words, these

privacy settings only controlled whether testing results were uploaded to the Internet; they do not

control whether those tests were also disclosed to Project Administrators or close genetic

matches, disclosures that Cole contends are barred by the Genetic Privacy Act absent informed

consent. (Ex. U, Supplemental Excerpts of the Transcript of the Deposition of Bennett

Greenspan, [“B. Greenspan Supp. Dep. Tr.”], at 158:10-159:1; Blankfield Dep. Tr. 91:13-24.) As

Bennett Greenspan testified, Cole could avoid having his genetic testing results forwarded to a

Project Administrator only by not joining a project. (B. Greenspan Supp. Dep. Tr. 158:10-159:1.)

Max Blankfield confirmed that whenever a customer joined a project, the Project’s

Administrator was given access to the individual’s contact information and testing results.

(Blankfield Dep. Tr. 83:9-13.) Because the class includes only individuals who joined a project,

Defendant’s contention is irrelevant.

       Third, testing results were transmitted to Project Administrators and made publicly

available through project pages by default. (Blankfield Dep. Tr. 90:10-91:9.) Because these

allegedly unlawful disclosures occurred as a matter of course (in addition to the disclosures to

Project Administrators), common questions will predominate. (Dkt. 140, pp. 13, 20.)

       Gene by Gene points to the testimony of Elliott Greenspan as the basis for its hypothesis

that some class members may have adjusted their privacy settings to prevent any disclosure of

their genetic information. (Opp. at 9 nn. 30-34, 36.) Not only is this testimony directly

contradicted by the testimony of Bennett Greenspan and Max Blankfield, and by the

documentary evidence, but, as discussed, Gene by Gene has not identified a single class member

who adjusted their privacy settings. (Indeed, as even a Gene by Gene executive testified, to hide

your results defies common sense: “The objective of genetic genealogy isn’t to hide your stuff;




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it’s to use it responsibly.” (B. Greenspan Supp. Dep. Tr. 157:7-8.)) Defendant’s concerns are

hypothetical, and insufficient to defeat certification.

III.   Whether class members provided their informed consent to any disclosures can be
       litigated on a classwide basis.

       Gene by Gene next asserts that analysis of class members’ consent to the disclosure of

their genetic information “is entirely subjective” and therefore can be assessed only on a

plaintiff-by-plaintiff basis. (Opp. at 11.) Gene by Gene is wrong.

       The evidence establishes that all class members provided consent by signing off on a

substantially similar form. Whether the content of that form establishes “informed consent” is an

issue common to the class. See Wilkes v. CareSource Mgmt. Grp. Co., 2016 WL 7179298, at *7

(N.D. Ind. Dec. 9, 2016) (concluding that issue of consent presented a common question because

defendant asserted that consent was obtained through “standard forms” and the legal significance

of the form would be the same for all class members); Ikuseghan v. MultiCare Health Sys., 2015

WL 4600818, at *5 (W.D. Wash. July 29, 2015) (“whether MultiCare’s standardized forms

constitute prior express consent is an issue subject to class-wide resolution”).

       Gene by Gene posits that additional consent issues might exist because class members

may have consented to disclosures when joining individual Projects. Again, at the very least, this

concern is irrelevant to most of the class period, because through at least January 2015 nothing in

the process of joining projects might have alerted individuals to the privacy implications of

joining a project. (Dkt. 140, Ex. H, Transcript of Deposition of Lisa Blackerby [“Blackerby Dep.

Tr.”], at 70:16-22.) Moreover, the evidence shows that any updates to the process of joining a

Project simply pointed class members back to Gene by Gene’s Privacy Policy and Terms of

Service. (Dkt. 140, Ex. N, GBG00409241.) But fact finding about the effect of the Privacy

Policy was already necessary to determine whether class members had provided their informed



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consent when purchasing a DNA test in the first place. (See Dkt. 140, Ex. E, GxG Sept 9 2016

Prod 000047-00052 (original release forms).) Because this already represented an issue

susceptible to class treatment, the additional wrinkle posited by Gene by Gene—new exposure to

the privacy policy—does not stand in the way of class treatment.2

       Gene by Gene also attempts to create individualized issues by importing into the Genetic

Privacy Act the definition of “informed consent” used in the medical-malpractice context. (Opp.

at 11 n.40.) Never mind that’s not the applicable standard, even that construction fails to create

individual issues: Informed consent in the medical context is measured from the point of view of

a “reasonable plaintiff.” Harrold v. Artwohl, 132 P.3d 276, 280 (Alaska 2006). In other words,

even under Gene by Gene’s cases, the issue of informed consent is assessed on an objective basis

common to the entire class. See Marsingill v. O’Malley, 128 P.3d 151, 159 (Alaska 2006); see

also Amgen, 133 S. Ct. at 1195 (reasoning “because the question of materiality is an objective

one ... materiality can be proved through evidence common to the class”) (quotation and

alteration omitted).

IV.    Gene by Gene’s various attacks on Cole’s typicality or ability to adequately
       represent the class fall flat.

       Gene by Gene further asserts in several ways that certification is inappropriate because

Michael Cole lacks standing to sue. (Opp. at 13-14, 16-17.) Cole concedes that if the Court were

to determine that he lacks standing to sue that he cannot represent the class. There would no

2
        Gene by Gene also suggests that because a kit holder can “continuously update” their
privacy settings, proving consent on a classwide basis is impossible. (Opp. at 11.) This aids
neither its disclosure nor their consent argument. As to consent, it is unclear what the relevance
of Gene by Gene’s statement is. It appears that Gene by Gene is positing that the ability to adjust
privacy settings necessarily implies that individuals have provided their consent. Whether that is
true, of course, is an issue that is amenable to classwide adjudication, because the facts and law
are common to everyone—i.e., whether any one setting, once engaged, rises to the level of
informed consent would be the same for everyone. As to disclosure, changing the privacy
settings after a disclosure is made does not retroactively undo disclosures.

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longer be a case before the Court. See also Cavin v. Home Loan Ctr., Inc., 236 F.R.D. 387, 395

n.4 (N.D. Ill. 2006) (concluding that because the alleged defects in the named plaintiff’s claim

“apply to the class as a whole, there is no basis for finding that such defects have any bearing on

the question of adequacy”).3

        Gene by Gene’s only new attack on Cole’s fitness to serve as class representative is

bottomed on Cole’s act of sharing the results of his genetic tests with specific individuals, which

Defendant styles a “waiver” of his ability to press claims under the Genetic Privacy Act. (Opp. at

13-15.) That argument is frivolous. The statute is designed to give individuals control over their

genetic information, to enable Alaskans to share this information when and with whom they

desire. That Cole has done that in other contexts does not surrender that control or the

protections of the statute.

V.      Any potential damages issues do not render certification inappropriate.

        Gene by Gene weakly contends that potential damages issues render certification

inappropriate. (Opp. at 18-19.) But “the black letter rule is that individualized damage

calculations generally do not defeat a finding that common issues predominate.” William

Rubenstein, Newberg on Class Actions § 4:54 (5th ed.). And Gene by Gene cannot establish that

any exception to that general rule would hold here. See Brown v. Electrolux Home Prods., Inc.,

817 F.3d 1225, 1240 (11th Cir. 2016) (noting exceptions to rule when damage calculations are so




3
         Gene by Gene also contends (Opp. at 21) that a class action would be unmanageable
because the Court would need to determine whether each of the 900 class members have
standing to sue. This is wrong for two reasons. First, if Cole has standing by virtue of Gene by
Gene’s allegedly unlawful disclosures (as he argued, Dkt. 104, pp. 7-14), then every class
member has standing. Second, at certification, only the named plaintiff need have standing.
Bates v. United Parcel Serv., Inc., 511 F.3d 974, 985 (9th Cir. 2007) (“In a class action, standing
is satisfied if at least one named plaintiff meets the requirements.”).

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complex that they would burden the court system or when damages questions are accompanied

by significant questions going to liability).

       In any case, Gene by Gene is wrong that damages issues cannot be adjudicated on a

classwide basis. The Genetic Privacy Act provides for standardized, liquidated damages. Courts

routinely hold that pursuit of statutory damages creates common questions going to remedy. See,

e.g., Ramirez v. Trans Union, 301 F.R.D. 408, 421-22 (N.D. Cal. 2014); Gonzalez v. Arrow Fin.

Servs., LLC, 233 F.R.D. 577, 582 (S.D. Cal. 2006). Gene by Gene hypothesizes that other class

members may wish to pursue actual damages (Opp. at 7, 18), but again it points to no one who

fits that bill, much less anyone who is made worse off by Cole’s litigation choices.

       Defendant nevertheless contends that the issue of whether class members are entitled to

the enhanced penalties provided for by statute, triggered by a determination that any unlawful

disclosures “resulted in profit or monetary gain,” Alaska Stat. § 18.13.020, will require

individualized fact finding. Defendant’s logic appears to be that each individual disclosure must

be assessed to determine whether it led directly to profit for Gene by Gene. This concern is, at

best, premature. First, Defendant’s interpretation of the statute to require some sort of close

connection is not obvious and, as before, is unsupported by any kind of developed legal

argument. Second, the evidence adduced thus far would permit a fact finder to conclude that

every disclosure is a but-for cause of profit for Gene by Gene. Defendant admitted that it

“benefits” indirectly when customers join projects (and thus trigger the allegedly unlawful

disclosures) (Ex. V, Defendant’s Reponses to Plaintiff’s First Set of Interrogatories, pp. 22-23),

and a deponent further agreed that increased project participation facilitates increased sales

(Blankfield Dep. Tr. 36:3-6). Indeed, Defendant’s entire business model is structured around




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sharing the results of genetic testing; it is implausible to think that Defendant would continue

offering such tests if it were not realizing a profit on them.

VI.    Gene by Gene’s plea for judicial grace should be rejected.

       Finally, Gene by Gene throws itself on the mercy of the Court, pleading for a favorable

exercise of discretion because the class may reap a significant damages award should it prevail.

(Opp. at 22-23.) Federal courts repeatedly have rejected this argument. See Murray v. GMAC

Mortg. Corp., 434 F.3d 948, 953 (7th Cir. 2006) (reversing denial of certification on this ground,

observing that “the reason that damages can be substantial ... lies in the legislative decision to

authorize awards as high as $1,000 per person, combined with [Defendant’s] decision to [violate

the statutory rights] of more than a million persons”); Parker v. Time Warner Entm’t Co., LP,

331 F.3d 13, 22 (2d Cir. 2003). Courts recognize that refusing to certify based on the potential

consequences incentives companies to violate the law in the broadest way possible, and that the

wiser course is to hold responsible defendants that violate the rights of hundreds of individuals,

no matter the apparent monetary consequences. See Klay v. Humana, Inc., 382 F.3d 1241, 1274

(11th Cir. 2004) (“It would be unjust to allow corporations to engage in rampant and systematic

wrongdoing, and then allow them to avoid a class action because the consequences of being held

accountable for their misdeeds would be financially ruinous.”). And as Parker points out, the due

process clause provides an independent check on outsize damages awards. 331 F.3d at 22. But a

later reduction in an award to comport with due process is irrelevant to certification. See Murray,

434 F.3d at 954 (“constitutional limits are best applied after a class has been certified”).

       This consistent approach is on solid legal footing, too: Gene by Gene’s argument has

nothing to do with whether Michael Cole has satisfied the criteria for class certification under

Rules 23(a) and (b)(3). See Bateman v. Am. Multi-Cinema, Inc., 623 F.3d 708, 713, 721-23 (9th




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Cir. 2010) (holding that similar concerns were irrelevant to class certification analysis absent

some evidence of legislative intent). “By its terms [Rule 23] creates a categorical rule entitling a

plaintiff whose suit meets the specified criteria to pursue his claim as a class action.” Shady

Grove Orthopedic Assocs., P.A. v. Allstate Ins. Co., 559 U.S. 393, 398 (2010); see also Briseno

v. ConAgra Foods, Inc., 844 F.3d 1121, 1126 (9th Cir. 2017) (recounting consistent guidance

from the Supreme Court not to “interpose an additional hurdle into the class certification

process”). Because he has met the criteria spelled out in Rule 23, Cole is entitled to pursue his

claims on behalf of a class.

                                         CONCLUSION

       The court should certify both the class and subclass proposed in Michael Cole’s Motion

for Class Certification, appoint him as representative of both the class and subclass, and appoint

Jay Edelson and Benjamin Richman as class counsel.

Respectfully submitted,                       MICHAEL COLE, individually and on behalf of
                                              all others similarly situated individuals,

Dated: February 15, 2017                      By: /s/Benjamin H. Richman
                                                      One of Plaintiff’s Attorneys

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                                 CERTIFICATE OF SERVICE

        I hereby certify that on February 15, 2017, I served the above and foregoing by causing
true and accurate copies of such paper to be filed and transmitted to all counsel of record via the
Court’s CM/ECF electronic filing system.

                                              /s/ Benjamin H. Richman




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